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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION

BRANDON CALLIER,                          §
                                          §
            Plaintiff,                    §
      vs.                                 §
                                          §
MICHAEL JOHNSON, KEEPING CAPITAL,         §                    Case #: 3:21-CV-0157-KC
LLC d/b/a DEBT DISSOLUTION, AND           §
 DAVID KING,                              §
                                          §
            Defendant.                    §
__________________________________________§

              DEFENDANTS KEEPING CAPTIAL LLC AND DAVID KING’S
                   MOTION TO SET ASIDE ENTRY OF DEFAULT

       Defendants, KEEPING CAPITAL, LLC, d/b/a DEBT DISSOLUTION (“Debt

Dissolution”) and DAVID KING (“King”, and, together with Debt Dissolution, “Defendants”)

ask the Court to set aside the entry of default, as authorized by Federal Rule of Civil Procedure

55(c). This Motion is supported by David King’s Affidavit, which is annexed and incorporated by

reference (“King Aff.”)

                                               I.
                                          Introduction

       1.      Plaintiff is BRANDON CALLIER (“Callier”).

       2.      Plaintiff sued Defendants and MICHAEL JOHNSON alleging violations of the

Telephone Consumer Protection Act of 1991, 47 U.S.C. § 227 (“TCPA”) and Section 302.101 of

the Texas Business & Commerce Code (“TBCC”).

       3.      On September 1, 2021, the clerk entered a default against all defendants.

       4.      These Defendants ask the Court to set aside the clerk’s entry of default. Defendants

filed this motion as soon as possible after learning of the entry of default.



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                                             II.
                                      Background Facts

       5.      Debt Dissolution offers telephone marketing services for attorneys and law firms.

King is the president and CEO of Debt Dissolution. King Aff., ¶ 1.

       6.      Callier sued Defendants in an earlier case (No. 3:21-CV-0011-DCG, Brandon

Callier v. The Litigation Practice Group, et al., In the Western District of Texas, El Paso Division)

(“First Case”) alleging he received unwanted telephone marketing solicitations from Debt

Dissolution on behalf of its client, The Litigation Practice Group (“LPG”). According to the

allegations in the First Case, the alleged solicitations occurred on or about December 15 and

December 17, 2020 (See, First Case, Doc. # 1). King Aff., ¶ 2.

       7.      Beginning in March 2021, Callier and Defendants entered settlement negotiations.

In the midst of these negotiations, Callier alleges he received additional telephone solicitations

from Debt Dissolution on behalf of a different client, an attorney named Michael Johnson.

According to the Complaint in this lawsuit, the calls occurred between April 17 to 29, 2021

(“Second Calls”). King Aff., ¶ 3.

       8.      Defendants and Callier subsequently entered a Settlement Agreement. Under the

Agreement, Callier agreed to release all claims against Defendants in return for payment of

$10,000. King Aff., ¶ 4.

       9.      Callier signed the Settlement Agreement on April 30, 2021. Defendants signed the

Settlement Agreement on May 4, 2021. At present, there is a dispute between the parties

concerning the Settlement Agreement’s effective. Callier falsely claims the Settlement Agreement

was effective April 1, 2021. King Aff., ¶ 5.

       10.     However, that is not true. The Settlement Agreement was executed in multiple

counterparts. The initial draft of the Settlement Agreement stated it was effective as of April 28,


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2021. Callier signed that Agreement on April 30. A true and correct copy of that document is

attached as Exhibit 1. Defendants countersigned the Agreement separately on May 4. Before

signing, Defendants asked that the agreement be modified to reflect an effective date of May 3,

2021. A true and correct copy of Defendants’ executed version of the Settlement Agreement is

attached as Exhibit 2. King Aff., ¶¶ 6-7.

           11.      There is presently some confusion as to which version of the Settlement Agreement

is the final executed version. However, under either version, there is no question that the Settlement

Agreement became effective on April 28, 2021, at the earliest. Thus, because the Second Calls

occurred before the effective date of the Settlement Agreement, Callier agreed to release all those

claims arising from those calls when he signed the Settlement Agreement.

           12.      On May 25, 2021, Defendants paid Callier $5,000 as their share of the $10,000

settlement payment. 1 Upon information and belief, the remaining $5,000 due was paid to Callier

by LPG. A true and correct copy of the wire transfer confirmation page for Defendants’ payment

is attached as Exhibit 3. King Aff., ¶ 8.

           13.      Despite having already released his claims arising from the Second Calls – and

despite having already received payment from Defendants – Callier filed this suit on July 6, 2021.

(Doc. #1). He now seeks statutory damages of at least $55,000 under the TCPA and TBCC.

           14.      On September 30, 2021, Callier and King had a phone call with Callier to discuss

this suit. They agreed that Callier would agree to suspend prosecution of this litigation for two

calendar weeks beginning on October 1, 2021. Callier also agreed that he would file, by no later

than October 1, 2021, the following: 1) a Satisfaction of Judgment in the First Case, and 2)

paperwork in this case alerting the Court to the two-week suspension. In return, Defendants agreed

to engage with settlement discussions with Callier. The parties memorialized their agreement in


1
    The payment was made via wire transfer paid by Debt Dissolution’s affiliate, Occams Paradigm, Inc.

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an email that same day. A true and correct copy of that email chain is attached as Exhibit 4. King

Aff., ¶ 9.

        15.     The following day, on October 1, 2021, Callier emailed Defendants again stating,

“David, I just electronically filed the attached satisfaction of judgment. I am working on the

settlement notice right now.” See Exh. 4, Email with Callier, p.1. A copy of a pleading titled

“Satisfaction of Judgment” bearing the First Case’s caption was attached to that email. King Aff.,

¶ 10.

        16.     Despite Callier’s promises and statements to the contrary. He never filed the

proposed “Satisfaction of Judgment” in the First Case. Nor did he ever file anything in this case

alerting the Court that the parties agreed to suspend this litigation for two weeks beginning on

October 1. King Aff., ¶ 11.

        17.     King had settlement discussions with Callier during the two-week period, however,

those discussions were not successful. The last of those discussions occurred on October 14, 2021.

The two-week interval ended on October 15, 2021. That same day, Defendants hired the

undersigned counsel to represent them in this Lawsuit. King’s affidavit confirms Defendants hired

Mr. Jurgensen’s law firm as soon as possible after they learned the settlement discussions had

ended and the two-week litigation hold was over. King Aff., ¶ 12.

                                           III.
                                 Argument and Authorities

        18.     A court may grant a motion to set aside entry of default upon a showing of good

cause. FED. R. CIV. P. 55(c); Gilmore v. Palestinian Interim Self-Gov’t Auth., 843 F.3d 958, 966

(D.C. Cir. 2016); Sims v. EGA Prods., Inc., 475 F.3d 865, 868 (7th Cir. 2007); Lacy v. Sitel Corp.,

227 F.3d 290, 291–92 (5th Cir. 2000). In determining whether there is good cause, the court should

generally consider (1) the prejudice to plaintiff if the default is set aside, (2) the existence of a


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meritorious defense, and (3) defendant’s culpable conduct. Gilmore, 843 F.3d at 966; Indigo Am.,

Inc. v. Big Impressions, LLC, 597 F.3d 1, 3 (1st Cir. 2010); see United States v. Signed Pers. Check

No. 730 of Yubran S. Mesle, 615 F.3d 1085, 1091 (9th Cir. 2010).

       19.     This analysis is analogous to setting aside a default judgment under Fed. R. Civ. P.

60(b)(1). However, the Fifth Circuit Court of Appeals has held “[a]lthough a motion to set aside a

default decree under Fed. R. Civ. P. 55(c) is somewhat analogous to a motion to set aside a

judgment under Fed. R. Civ. P. 60(b), the standard for setting aside a default decree is less rigorous

than setting aside a judgment for excusable neglect.” In re Chinese-Manufactured Drywall Prods.

Liab. Litig., 753 F.3d 521, 544 n.20 (5th Cir. 2014) (citing United States v. One Parcel of Real

Prop., 763 F.2d 181, 183 (5th Cir. 1985)). Thus, setting aside an entry of default requires a lower

level of proof than setting aside a default judgment once entered.

       20.     Here, there is good cause to set aside the default in this case for the following

reasons:

A.     Defendants have a meritorious defense.

       21.     Callier signed a Settlement Agreement on April 30, 2021. That Agreement became

effective on either April 28 or May 3, as noted above. However, both versions of the agreement

specifically define the word “Claim” as follows:

       any and all claims, allegations, assertions, demands, rights, duties, obligations,
       contracts, agreements, covenants, promises, understandings, debts, indebtedness,
       demands, trust deeds, encumbrances, liens, damages, injuries, losses, actions,
       causes of action, claims for relief, costs, expenses, promissory notes, charges,
       attorneys' fees, judgments, orders, levies and liabilities of any kind and character,
       demands of any kind and character, arising in connection with any matter
       whatsoever, whether in law or equity, known or unknown, suspected or
       unsuspected, existing or prospective, and concealed or revealed.”

Compare Exh. 1 with Exh. 2 (emphasis added).

       22.     Thus, regardless which form of Settlement Agreement applies, Callier expressly

agreed to release all “known or unknown, suspected or unsuspected, existing or prospective, and
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concealed or revealed” claims from the beginning of time up to the effective date. That means any

claims arising from any solicitation calls occurring before the effective date of settlement are

barred because Callier agreed to release those claims.

        23.     Defendants need not establish a meritorious defense as a matter of law. Defendants

burden under Rule 55(c) is merely to allege facts that, if true, would constitute a defense to the

claims alleged. See Parker v. Scheck Mechanical Corp., 772 F.2d 502, 505 (7th Cir. 2014).

Accordingly, whether or not the April 28 or May 3 effective date controls, Defendants have met

their burden. They have alleged facts, supported by King’s affidavit and copies of the relevant

agreement, showing that regardless which version of the Settlement Agreement applies, all or

substantially all of Callier’s claims are barred by the release he signed. To the extent Callier alleges

these Agreements do not apply or that an earlier effective date controls, that is an issue for the

factfinder upon a final trial.

        24.     Thus, Defendants have a meritorious defense under the Settlement Agreement. If

the default is set aside, Defendants intend to file an answer asserting this and other defenses to

Callier’s claims.

B.      Setting aside the default will not prejudice Callier.

        25.     Prejudice in the context of Rule 55(c) requires more than a mere showing of delay

in rendition of judgment. Indigo Am., Inc., 597 F.3d 1, 4 (1st Cir. 2010); FDIC v. Francisco Inv.

Corp., 873 F.2d 474, 479 (1st Cir. 1989) (explaining that “[t]he issue is not mere delay, but rather

its accompanying dangers: loss of evidence, increased difficulties of discovery, or an enhanced

opportunity for fraud or collusion.”). Here, the default was entered on September 1, 2021.

Defendants filed this Motion to Set Aside on October 18, 2021, just a little more than a month

later. Such a small interval between entry of default and the filing of a set aside motion does not

give rise to the implication that relevant evidence will be lost, that discovery will be more difficult

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when litigation begins, or that there has been fraud or collusion. Moreover, Callier has already

received at least half ($5,000) of the $10,000 he agreed to in the settlement.

        26.     Allowing a default judgment to be rendered would be deeply prejudicial to

Defendants and result in a harsh or unfair outcome. See Enron Oil Corp. v. Diakuhara, 10 F.3d

90, 96 (2d Cir. 1993). Callier seeks over $55,000 in statutory damages and penalties in this lawsuit.

However, Defendants bargained for a release of all claims by Callier in exchange for $10,000.

These Defendants have already paid him $5,000 under the Settlement Agreement. Thus, allowing

the default to stand will reward Callier to the tune of over 5 times the $10,000 that he agreed to

accept in exchange for a release of his claims and more than 10 times as much as these Defendants

have already paid him.

C.      Defendants’ failure to file an answer was not willful.

        27.     Thirdly, Defendants’ failure to answer or appear was not willful. David King’s

affidavit confirms that Callier and Defendants agreed to suspend this litigation for two calendar

weeks beginning on October 1, 2015, to engage in settlement discussions. In return, Callier agreed

to file, by no later than October 1, the following: 1) a Satisfaction of Judgment in the First Case,

and 2) paperwork in this case alerting the Court to the two-week suspension. This was agreed to

in a phone call between Callier and King on September 1, 2021, and confirmed in writing via

email. See Exh. 3, Callier Email, p.2.

        28.     Despite Callier’s promise, he failed to file either of these two documents. The two-

week suspension period ended on October 15, 2021. King’s Affidavit confirms Defendants

retained the undersigned counsel that same day to defend this lawsuit and file the appropriate relief

to set aside the clerk’s entry of default.

        29.     Based on the foregoing, Defendants’ failure to answer was not willful because

Defendants relied on Callier’s written and verbal promises that he would suspend the litigation to

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facilitate settlement discussions. Further, Defendants acted as quickly as possible to contest the

default after the two-week period ended. King Aff., ¶¶ 9-12.

D.     Callier’s bad faith action in filing this lawsuit despite previously releasing his claims.

       30.     The federal courts have noted that, in addition to the traditional 3-part test for

setting aside entry of default, a trial court is free to consider other factors under FED. R. CIV. P.

55(c) that may weigh on its discretion.

       31.     Here, the Court should consider Callier’s bad faith. He filed this lawsuit despite

having previously settled with Defendants and agreeing to release his claims. The release included

all claims from the beginning of time through the Settlement Agreement’s effective date, which

includes all or substantially all his claims arising from the Second Calls. Further, Defendants paid

Callier $5,000 under that Agreement. Despite settling with Defendants and releasing these claims,

Callier proceed to file this lawsuit anyway. See generally Exhs. 1-3.

       32.     Callier’s bad faith continued after filing suit. On September 1, 2021, he agreed that

he would file a Satisfaction of Judgment in the First Case and a pleading in this case alerting the

Court that litigation was suspended for two calendar weeks pending settlement discussions. That

was critical to Defendants, because at that time the clerk had already entered default and Callier

had requested a default judgment be entered. The parties specifically agreed that Callier would file

appropriate paperwork with this Court so that a default judgment would not be entered.

       33.     Based on the foregoing, the Court should consider Callier’s bad faith actions and

find they weigh in favor of setting aside the entry of default.

                                              IV.
                                           Conclusion

       For these reasons, Defendants ask the Court to set aside the entry of default.




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Dated:        October 19, 2021.            Respectfully submitted,

                                           HENDERSHOT COWART P.C.

                                           By: /s/ Ky Jurgensen
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                                               (713) 783-2809 Fax

                                           Attorneys for Keeping Capital, LLC and
                                           David King


                                  Certificate of Service
       The foregoing document will be served on all counsel of record via the Court’s ECF/ENS
system and parties below on the date of entry on the Court’s docket.

Brandon Callier
6336 Franklin Trail
El Paso, Texas 79912
Plaintiff, Pro Se
                                           /s/ Ky Jurgensen
                                           Ky Jurgensen




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                                   Affidavit of David King

State of California    §
                       §
Orange County          §

       BEFORE ME, the undersigned authority, on this day personally appeared DAVID KING,

who being first duly sworn, upon said oath testified as follows:

     1. "My name is David King. I am over 18 years of age, of sound mind, and capable of making
this affidavit. I am the President and a member of Keeping Capital, LLC, d/b/a Debt Dissolution
("Debt Disso/11tio11"), a Florida limited liability company. I, along with Debt Dissolution, are
defendants in Case No. 3:21-CV-0157-KC, Brandon Callier v. Michael Johnson, et al., In the
United States District Court for the Western District of Texas, El Paso Division ("Lawsuit"). Each
reference to "Defendants" in this affidavit refers jointly to Debt Dissolution and I as defendants in
the Lawsuit. I am personally familiar with the facts stated in this affidavit by virtue of my role as
Debt Dissolution's president and my personal participation in the events described. Each fact
alleged in this affidavit is based on my personal knowledge and is true and correct. I am submitting
this affidavit in support of Defendants' Motion to Set Aside Entry of Default in this case
("Motion").

   2. Beginning in March 2021, Callier and Defendants entered settlement negotiations. In the
midst ofthese negotiations, Callier alleges he received additional telephone solicitations from Debt
Dissolution on behalf of a different client, an attorney named Michael Johnson. According to the
Complaint in this lawsuit, the calls occurred between April 17 to 29, 2021 ("Second Calls"). King
Aff., if 5.

   3. Defendants and Callier subsequently entered a Settlement Agreement. Under the
Agreement, Callier agreed to release all claims against Defendants in return for payment of
$10,000.

    4. Callier signed the Settlement Agreement on April 30, 2021. Defendants signed the
Settlement Agreement on May 4, 2021. At present, there is a dispute between the parties
concerning the Settlement Agreement's effective. Callier falsely claims the Settlement Agreement
was effective April 1, 2021.

    5. However, that is not true. The Settlement Agreement was executed in multiple
counterparts. The initial draft of the Settlement Agreement stated it was effective as of April 28;
2021 . Callier signed that Agreement on April 30. A true and correct copy of that document is
attached to the Motion as Exhibit 1.

   6. Defendants countersigned the Agreement separately on May 4. Before signing, Defendants
asked that the agreement be modified to reflect an effective date of May 3, 2021. A true and correct
copy of Defendants' executed version of the Settlement Agreement is attached to the Motion as
Exhibit 2.
                                                                                                   I




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    7. On May 25, 2021, Defendants paid Callier $5,000 as their share of the $10,000 settlement
payment. The payment was made via wire transfer paid by Debt Dissolution's affiliate, Occams
Paradigm, Inc. Upon information and belief, the remaining $5,000 due was paid to Callier by LPG.
A true and correct copy of the wire transfer confirmation page for Defendants' payment is attached
to the Motion as Exhibit 3.

    8. On September 30, 2021, I had a phone call with Callier to discuss the Lawsuit. We agreed
that Callier would agree to suspend prosecution of the Lawsuit for two calendar weeks beginning
on October I, 202 I. Callier also agreed that he would file, by no later than October 1, 2021, the
following: I) a Satisfaction of Judgment in the First Case, and 2) paperwork in the Lawsuit case
alerting Judge Kathleen Cardone that the parties agreed to a two-week suspension. In return,
Defendants agreed to engage with settlement discussions with Callier. The parties memorialized
their agreement in an email that same day. A true and correct copy of that email chain is attached
to the Motion as Exhibit 4. In Exhibit 4, the email addressed used by Callier is listed as
"callier74@gmail.com". That is an email address I know to be used by Callier because I had
previously corresponded with him at that address.

    9. The following day, on October 1, 2021, Callier emailed me stating, "David, I just
electronically filed the attached satisfaction of judgment. I am working on the settlement notice
right now." That email also appears in Exhibit 4 to the Motion. A copy of a pleading titled
"Satisfaction of Judgment" bearing the First Case's caption was attached to that email.

    I 0. Despite Callier's promises and statements to the contrary, he never filed the proposed
"Satisfaction of Judgment" in the First Case. Nor did he ever file anything in this Lawsuit alerting
the Judge Cardone that the parties agreed to suspend this litigation for two weeks beginning on
October 1.

    11. I had further settlement discussions with Callier during that period, however, those
discussions were not successful. The last of those discussions occurred on October 14, 2021. The
two-week interval ended on October I 5, 2021. That same day, Defendants hired Ky Jurgensen of
the law firm Hendershot Cowart, PC, in Houston, Texas to represent us in this Lawsuit. We hired
Mr. Jurgensen's law firm as soon as possible after the learning the settlement discussions had
ended and the two-week litigation hold ended.




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                                         DAVID KING


Subscribed and sworn to before me by DAVID KING, on this the October 19, 2021.
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A notary public or other officer completing this
certificate verifies only the identity of the individual
who signed the document to which this certificate
is attached, and not the truthfulness, accuracy, or
validi of that document.

State of California
County of _O_r_an_q..;;_e_ _ __




proved to me on the basis of satisfactory evidence to
person(s) who appeared before me.

              VICTORIA E STRUTT
                 cow., # 231s254
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                                           oo"
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(Seal)
